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   8                    UNITED STATES DISTRICT COURT
   9             FOR THE CENTRAL DISTRICT OF CALIFORNIA
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  11   ARTIS-RAY CASH JR.,                    Case No. 8:25-cv-00165-JWH-ADSx
  12              Plaintiff,
                                              ORDER GRANTING
  13        v.                                DEFENDANT’S MOTON TO
                                              DISMISS [ECF No. 22]
  14   EXPERIAN INFORMATION
         SOLUTIONS, INC., and
  15   MONTEREY FINANCIAL
         SERVICES, LLC,
  16
                  Defendants.
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  28                             EXHIBIT G
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   1          Plaintiff Artis-Ray Cash, Jr. commenced this action against Defendants
   2   Experian Information Solutions, Inc. and Monterey Financial Services, LLC in
   3   January 2025. 1 Cash asserts two claims for relief against Defendants:
   4   (1) violations of the Fair Credit Reporting Act, 15 U.S.C. §§ 1681 et seq.
   5   (“FCRA”); and (2) violations of the Fair Debt Collection Practices Act, 15
   6   U.S.C. §§ 1692 et seq. 2
   7          Cash, who appears pro se, also filed an application to proceed in forma
   8   pauperis, as well as a sworn statement regarding his available income. 3 Based
   9   upon the information that Cash provided, the Court granted his IFP
  10   Application. 4 In April 2025, however, Monterey moved to dismiss Cash’s
  11   claims because Cash failed to disclose settlement income that Cash—who is a
  12   serial litigant—earned through prior FCRA cases. 5 Cash does not dispute that
  13   he earned income through prior settlements nor that he omitted that
  14   information from his IFP Application. 6 Cash also does not dispute that he has
  15   omitted that information from other applications that he has filed in this
  16   District. 7
  17          Pursuant to 28 U.S.C. § 1915(e)(2)(A), a court “shall dismiss” a case in
  18   which a request to proceed in forma pauperis was granted “if the court
  19   determines that . . . the allegation of poverty is untrue.” Although the Ninth
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  21          See Complaint [ECF No. 1].
       2
  22          See generally id.
       3
  23         See Request to Proceed in Forma Pauperis (the “IFP Application”) [ECF
       No. 2].
  24   4
              See Order on the IFP Application [ECF No. 7].
  25   5
              See Defs.’ Mot. to Dismiss (the “Motion”) [ECF No. 22].
  26   6
              See Pl.’s Opp’n to Motion (the “Opposition”) [ECF No. 24].
  27   7
             See id.; see also Decl. of Berj K. Paseghian in Supp. of the Motion [ECF
  28   No. 23] (listing cases).       EXHIBIT G
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